295 F.2d 35
    James WALKER, a/k/a James B. Walker, Jr., and Della Palmore Walker, a/k/a Della M. Palmer Walker, Appellants,v.Bruicie WALKER, James Irvin Walker and Clyde Arial Walker, Appellees.
    No. 8340.
    United States Court of Appeals Fourth Circuit.
    Argued October 6, 1961.
    Decided October 10, 1961.
    
      James Walker, pro se.
      Before BOREMAN, BRYAN and BELL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Insofar as we are able to determine from the plaintiff's complaint, brief and argument, jurisdiction of the District Court is asserted upon two grounds, (1) diversity of citizenship, and (2) unconstitutionality of the laws of the State of South Carolina which, in effect, deny to a child of an alleged common-law marriage the right to inherit from the father. The District Court dismissed for lack of jurisdiction. Substantially the same questions were heretofore considered and decided by this court in an action involving these same parties, 274 F.2d 425 (4 Cir., 1960).
    
    
      2
      The plaintiff, James Walker, who appeared pro se, admitted at the bar of this court facts from which it is clear that the required diversity of citizenship is lacking. And again, we express the opinion that no substantial federal question is presented.
    
    
      3
      The District Court's dismissal for lack of jurisdiction is
    
    
      4
      Affirmed.
    
    